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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

NEW ENGLAND SPORTS NETWORK, L.P.,

                  Plaintiff,

       v.
                                                   Civil Action No. 22-CV-10024-MJJ
ARIEL LEGASSA; ALLEY INTERACTIVE
LLC (CT),

                  Defendants.


                     NOTICE OF WITHDRAWAL OF APPEARANCE

       Please withdraw the appearance for Jacob E. Morse as counsel for plaintiff New England

Sports Network, L.P. (“NESN”) in the above referenced matter. Christopher M. Morrison and

all other Jones Day attorneys with appearances in the above-captioned matter will remain

counsel for NESN. All future correspondence and papers in this matter should continue to be

directed to these Jones Day attorneys.

Dated: October 22, 2024                        Respectfully Submitted,


                                               /s/ Jacob E. Morse
                                               Jacob E. Morse (BBO # 709512)
                                               jacobmorse@jonesday.com
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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on October 22, 2024, the foregoing was filed through the Court’s

ECF system and will be sent electronically to the registered participants. I further certify that all

parties represented by the undersigned counsel have been notified of this Notice of Withdrawal.


                                               /s/ Jacob E. Morse
                                               Jacob E. Morse




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